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                                                                                                                                             POS-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                    FOR COURT USE ONLY
ZHOIE PEREZ
14926 TEMPLAR DRIVE
LA MIRADA CA 90638                                                                                                   ~p
                                                                                                           f ...__U 5 i'»~ixiCT COURT'
                                                                                                         c;~~lc
          TELEPHONE NO.: 6r
                          j7-Z39-6O0r
                                    J                        FAX NO. (Optional):
E-MAIL ADDRESS (Optional:
   ATTORNEY FOR (Name):
                                                                                                            ~     MAY ~ V ~~
SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                                              ~N~
 srReeraoorzess:255 ETEMPLE STREET
 MAILING ADDRESS:
cirvnNoziPcooe:LOS ANGELES CA
   Bw+NCH NAME CENTRAL DISTRICT
    PLAINTIFF/PETITIONER:ZHOIE PEREZ                                                            CASE NUMBER:

 DEFENDANT/RESPONDENT:Suq Kahq, Timothy Kwan-Unq Park, Glory Church of Jesus Christ,            CV23-3377-SVW-AS
                                                                                                Ref. No. or File No.:
                           PROOF OF SERVICE OF SUMMONS

                                   (Separafe proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a. ~ summons
    b. 0complaint
    c. 0Alternative Dispute Resolution (ADR) package
    d. ~ Civil Case Cover Sheet (served in complex cases only)
    e. ~ cross-complaint
    f. ~ other (specify documents):
3. a. Party served (specify name of party as shown on documents served):
      GLORY CHURCH OF JESUS CHRIST
    b• 0Person (other than the party in item 3a)served on behalf of an entity or as an authorized agent(and not a person
        under item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):


4. Address where the party was served:
   1801 S GRAND AVE. LOS ANGELES CA 90015
5. I served the party (check proper box)
    a. ~x         by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date): 05-08-2023                  (2) at (time): 12:OOp.m.
    b. 0by substituted service. On (date):                          at (time):             I left the documents listed in item 2 with or
        in the presence of (name and title or relationship to person indicated in item 3):

                 (1)
                   0 (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                     of the person to be served. I informed him or her of the general nature of the papers.
                 (2)
                   0 (home)a competent member of the household (at least 18 years of age) at the dwelling house or usual
                     place of abode of the party. I informed him or her of the general nature of the papers.
                 (3)
                   0 (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                     address of the person to be served, other than a United States Postal Service post office box. I informed
                     him or her of the general nature of the papers.
                 (4)~ I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                      at the place where the copies were left(Code Civ. Proc., § 415.20). I mailed the documents on
                     (date):                        from (city):                             orb a declaration of mailing is attached.
                 (5)
                   0I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                Page t of 2
Form Adopted for Mandatory Use                                                                                              Code of Civil Procedure,§ 417.10
  Judicial Council of California                       PROOF OF SERVICE OF SUMMONS
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                                                                                                                                     POS-010
     PLAINTIFF/PETITIONER: ~h~C)?~, ~~Z                                                           CASE NUMBER:
  DEFENDANT/RESPONDEN            i~ _
                                       ^~_U                   'C         !~~W (,r          AL'S           3— ~'                W-     J
5. c. 0 by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
        address shown in item 4, by first-class mail, postage prepaid,
                  (1) on (date):                                              (2) from (city):
                  (3)0with two copies of the Notice and Acknowledgment of Receipt and apostage-paid return envelope addressed
                      to me.(Attach completed Notice and Acknowledgement of Receipt.)(Code Civ. Proc., § 415.30.)
                  (4)0to an address outside California with return receipt requested.(Code Civ. Proc., § 415.40.)

    d. ~ by other means (specify means of service and authorizing code section):




                  Additional page describing service is attached.

6. The "Notice to the Person Served"(on the summons) was completed as follows:
     a. 0as an individual defendant.
     b. ~ as the person sued under the fictitious name of (specify):
    c. ~ as occupant.
    d. 0On behalf of (specify):
                  under the following Code of Civil Procedure section:
                          416.10 (corporation)                               ~ 415.95 (business organization, form unknown)
                         0416.20 (defunct corporation)           0416.60 (minor)
                         0416.30 Qoint stock company/association) ~ 416.70 (ward or conservatee)
                         0416.40 (association or partnership)                ~ 416.90 (authorized person)
                                   416.50 (public entity)                   0415.46 (occupant)
                                                                                      other:
7. Person who served papers
     a. Name: STEVE RIVERA
     b. Address: 10505 EVEREST STREET, NORWALK CA 90670
     c. Telephone number: 309-323-0081
     d. The fee for service was: $ 100.00
    e. I am:
        (1) Ox         not a registered California process server.
         (2)0exempt from registration under Business and Professions Code section 22350(b).
         (3)~ a registered California process server:
                      (i) ~ owner               0employee      0 independent contractor.
                      (ii)       Registration No.:
                      (iii) County:

8. ~x        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
             or
9. 0I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: 05-09-2023

STEVE RIVERA                                                                              '
      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                       ~~                 ATU E)




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This Form button after you have printed the form.                  P~Illt thlS fO~m      Save this form                       C#eal~'~1isfOi~m
